      Case: 1:18-cv-05369 Document #: 80 Filed: 08/27/19 Page 1 of 1 PageID #:2630




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 UBIQUITI NETWORKS, INC.,


 Plaintiff,

 v.
                                                      Civil Action No.: 1:18-cv-05369
 CAMBIUM NETWORKS, INC.;
 CAMBIUM NETWORKS, LTD.;                              JURY TRIAL DEMANDED
 BLIP NETWORKS, LLC;
 WINNCOM TECHNOLOGIES, INC.;
 SAKID AHMED; and DMITRY
 MOISEEV,

 Defendants.


                                 CERTIFICATE OF SERVICE

         I hereby certify that on August 27, 2019, I electronically filed the foregoing Defendants’

Reply In Support Of Their Motion To Dismiss Plaintiff’s First Amended Complaint Under

Federal Rule of Civil Procedure 12(b)(6) with the Clerk of the United States District Court for

the Northern District of Illinois, Eastern Division, using the Court’s CM/ECF system, which is

also served upon counsel for all parties of record.



                                                  /s/ G. Hopkins Guy III
                                                      G. Hopkins Guy III




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